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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

 ELLEN JEANENE PALMER,                      §
 INDIVIDUALLY AND AS EXECUTRIX              §
 OF THE ESTATE OF CLYDE LEE                 §
 DENBOW                                     §
                                            §
               Plaintiffs,                  §
                                            §
               v.                           §      C. A. No. 1:14-cv-01064-SLR-SRF
                                            §
 AIR & LIQUID SYSTEMS CORPORATION,          §
 BUFFALO PUMPS DIVISION, et al.             §
                                            §
                        Defendants.         §



            CBS CORPORATION’S MOTION FOR SUMMARY JUDGMENT
                  AND OPENING BRIEF IN SUPPORT THEREOF




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 Dated: July 12, 2016
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 I.     NATURE AND STAGE OF PROCEEDINGS

        CBS Corporation is sued in this case as a successor to Westinghouse Electric Corporation

 (“Westinghouse”). The initial Complaint was filed in the Superior Court of New Castle County,

 Delaware on June 27, 2014. The case was removed to this Court by Defendant Air & Liquid

 Systems on August 18, 2014. Thereafter, Plaintiff filed an Amended Complaint in this Court on

 March 6, 2015.

        Fact discovery is now closed. This is Westinghouse’s Motion for Summary Judgment and

 Opening Brief in Support Thereof.

 II.    SUMMARY OF ARGUMENT

        Plaintiff alleges that Claude Denbow (“Mr. Denbow”) developed mesothelioma due to

 exposure to asbestos during his service aboard the U.S.S New Jersey while in the United States

 Navy from 1954 to 1957. It is presumed that Plaintiff will argue that Mr. Denbow was exposed

 to insulation attached externally to a Westinghouse turbine present on the U.S.S. New Jersey.

 Charles Ricker, a former shipmate of Mr. Denbow’s, testified about his own work as a machinist

 mate aboard the U.S.S. New Jersey and the equipment he worked with or around during his time

 on the ship including a Westinghouse turbine. He was unable to offer any testimony as to

 specific work performed by Mr. Denbow, also a machinist mate, on the ship or specific

 equipment he worked on or around which may have exposed him to asbestos. Specifically, Mr.

 Ricker could not testify that Mr. Denbow did any work on a Westinghouse turbine aboard the

 U.S.S. New Jersey or that any alleged work thereon exposed him to asbestos. Under a conflict of




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 law analysis, maritime substantive law should apply to any causation analysis. 1 The application

 of such law is fatal to Plaintiffs’ claims against Westinghouse for two reasons.

         First, Plaintiff has not identified or produced any evidence giving rise to a genuine issue

 of fact as to whether Mr. Denbow was frequently and regularly in close proximity to respirable

 asbestos dust associated with Westinghouse turbines (or any other Westinghouse piece of

 equipment) on the U.S.S. New Jersey. Absent such evidence, there can be no finding that any

 Westinghouse turbine was a substantial factor in causing the development of Mr. Denbow’s

 injury. Thus, Plaintiff’s proof of Westinghouse-specific causation has failed as a matter of law.

         Second, even assuming arguendo that Plaintiff could prove that Mr. Denbow’s injury was

 caused by external insulation on Westinghouse turbines, the undisputed evidence reflects that

 Westinghouse did not manufacture, supply, or install that insulation but instead Westinghouse

 delivered its equipment to the Navy uninsulated. Thus, Plaintiff’s claims would fail even upon a

 showing of causation, as maritime law holds that an equipment manufacture cannot be held

 liable for injuries caused by insulation it did not manufacture or supply simply because it may

 have been foreseeable that the Navy would use such insulation with its equipment.

 III.    STATEMENT OF FACTS

         The Complaint in this matter alleges that Clyde Lee Denbow was exposed to asbestos

 containing equipment and/or products while serving in the United States Navy aboard the U.S.S

 New Jersey as a machinist mate from approximately 1954 to 1957.                         See Plaintiff’s First

 Amended Complaint (attached hereto as Exhibit A). It is alleged that as a result of his asbestos


 1
   See Restatement (Second) of Conflicts of Laws §§145-46 (1971). Restatement Section 146 provides that in a
 personal-injury case, a rebuttable presumption arises whereby the substantive law of the jurisdiction where the
 injury occurred (here maritime law) will govern a plaintiff’s claims, unless some other jurisdiction has “a more
 significant relationship.”
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 exposure in the Navy, as well as during his employment at a chemical facility after the Navy, Mr.

 Denbow developed mesothelioma. Id.

        Mr. Denbow passed away on July 27, 2014 and was never deposed in connection with

 this litigation. Charles Ricker was deposed as a witness on behalf of Plaintiff. Mr. Ricker served

 on the USS New Jersey from the latter part of September 1952 until April 1956. See Videotaped

 Deposition of Charles Ricker, January 21, 2016, pp. 5-7 (relevant pages attached as Exhibit B).

 Mr. Ricker could not recall when he first met Mr. Denbow on the ship or the exact years they

 served simultaneously on the New Jersey. Id. at 7; See also Discovery Deposition of Charles

 Ricker, January 21, 2016, pp. 16-17 (relevant pages attached as Exhibit C). Mr. Ricker last had

 contact with Mr. Denbow when Mr. Ricker left the ship in 1956. Id. at 19-20. He had to look in

 his ship books to recall Mr. Denbow. Id. Mr. Ricker and Mr. Denbow both served time in

 Engine Room No. 2. Id. at 21. While Mr. Ricker was able to testify about what type of work he

 performed while on the New Jersey, he was unable to testify as to any specific work Mr.

 Denbow may have performed or what specific equipment he may have worked on. Id. at 24-25,

 32-38, 43-46, 54-58. He specifically could not testify that Mr. Denbow ever worked on a

 Westinghouse turbine whereby he disturbed any external insulation or any other potential

 asbestos-containing component. Id. Moreover, Mr. Ricker testified that he was unaware of the

 maintenance history of the turbines on the ship but based on the age of the ship presumes repairs

 were made from the time the U.S.S. New Jersey was commissioned in 1942 and when Mr.

 Denbow served on the ship from 1954 to 1957. Id. at 46-48.




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 IV.    ARGUMENT

        A.      Summary Judgment Standard

        Summary judgment exists “to isolate and dispose of factually unsupported claims.”

 Celotex v. Catrett, 477 U.S. 317, 323–24 (1986). “The court shall grant summary judgment if

 the movant shows that there is no genuine dispute as to any material fact and the movant is

 entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a). The respective burdens of the

 parties on a Rule 56 summary judgment motion are well-established. See Conoshenti v. Pub.

 Serv. Elec. & Gas. Co., 364 F.3d 135, 140 (3d Cir. 2004) (“Although the initial burden is on the

 summary judgment movant to show the absence of a genuine issue of material fact, the burden

 on the moving party may be discharged by showing – that is, pointing out to the district court –

 that there is an absence of evidence to support the nonmoving party’s case when the nonmoving

 party bears the ultimate burden of proof.”) (internal citations omitted). Once the moving party

 has thus discharged its burden, the nonmoving party may not rely merely on allegations or

 denials in its own pleading; rather, its response must cite “to particular parts of materials in the

 record” to show the existence of an issue of triable fact.” FED. R. CIV. P. 56(c)(1)(A).

        B.      Failure of Plaintiffs’ Proof of Westinghouse-Specific Exposure/Causation

 In any asbestos-related injury case under maritime law, the plaintiff must prove that defendant-

 attributable asbestos exposure was a substantial factor in causing his injury. See, e.g., Lindstrom

 v. A-C Product Liability Trust, 424 F.3d 488, 492 (6th Cir. 2005); Stark v. Armstrong World

 Indus., 21 Fed. Appx. 371, 375 (6th Cir. 2001); Walkup v. Air & Liquid Sys. Corp., 2014 U.S.

 Dist. LEXIS 75892 (D. Del. June 4, 2014); In re Asbestos Litig. [Hoofman], 2014 Del. Super.

 LEXIS 61 (Del. Super. Feb. 14, 2014).          Mere proof of minimal exposure to defendant-


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 attributable asbestos will not satisfy this “substantial factor” test, nor is this standard met by

 evidence merely placing defendant-attributable asbestos aboard one or more vessels on which the

 plaintiff was allegedly exposed.    Lindstrom, 424 F.3d at 492; Stark, 21 Fed. Appx. at 376;

 Walkup, 2014 U.S. Dist. LEXIS 75892 at *5; In re Asbestos Litig. [Hoofman], 2014 Del. Super.

 LEXIS at *3. Rather, “proof of substantial exposure is required for a finding that a product was

 a substantial factor in causing injury.” Lindstrom, 424 F.3d at 492. See also Stark, 21 Fed.

 Appx. at 376. Thus, in this case, Plaintiffs must show that Mr. Denbow’s purported contact with

 Westinghouse-attributable asbestos was more than sporadic, casual, or minimal. In other words,

 a genuine issue as to Westinghouse-specific causation cannot be raised absent evidence that such

 exposure occurred with sufficient frequency and regularity that it can reasonably be viewed as a

 substantial factor in causing Mr. Denbow’s injury. See, e.g., Dumas v. ABB Grp., Inc. (In re

 Asbestos Litig.), 2015 U.S. Dist. LEXIS 137291 (D. Del. Sept. 30, 2015) (granting summary

 judgment for Westinghouse where plaintiff failed to show beyond mere speculation and

 conjecture that plaintiff was exposed to asbestos from products manufactured or supplied by

 Westinghouse); Tyler v. Various Defendants, 2011 U.S. Dist. LEXIS 111318 (E.D. Pa. July 5,

 2011) (granting a summary judgment as the plaintiff failed to show more than minimal asbestos

 exposure arising from his maintenance of the defendant’s shipboard deaerating tank); Tyler v.

 Various Defendants, 2011 U.S. Dist. LEXIS 111349 (E.D. Pa. July 5, 2011) (granting a summary

 judgment as the plaintiff failed to show more than minimal asbestos exposure arising from his

 occasional gasket or packing replacement work on the defendant’s marine pumps).

        Here, Plaintiff’s evidence clearly fails as a matter of law when measured against these

 standards. Mr. Ricker was unable to testify to personally seeing Mr. Denbow working on


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  Westinghouse equipment or in the area when work was being performed on Westinghouse

  equipment by others. Quite the contrary, Mr. Ricker could only offer speculation that Mr.

  Denbow could have been exposed to asbestos based solely on his Navy occupation rating or

  classification. It is clear, however, that proof of defendant-specific exposure cannot be had for

  purposes of maritime law based on the non-personal knowledge-based speculation as to the type

  of work that might have been performed on a particular piece of equipment by a plaintiff (or by

  others in his immediate proximity) based solely on the plaintiff’s shipboard job or occupational

  rating. Tyler v. Various Defendants, 2011 U.S. Dist LEXIS 111349 (E.D. Pa. July 5, 2011).

         As such, Plaintiff has failed to raise a genuine issue of fact as to Mr. Denbow’s alleged

  Westinghouse-specific asbestos exposure and Plaintiff’s claims fail as a matter of law, entitling

  Westinghouse to summary judgment. Lindstrom, 424 F.3d at 492; Stark, 21 Fed. Appx. at 376;

  Walkup, 2014 U.S. Dist. LEXIS 75892 at *5; In re Asbestos Litig. [Hoofman], 2014 Del. Super.

  LEXIS 61at *3.

         C.     Westinghouse’s Lack of Duty as to Equipment Insulation-Related Injuries

         Even if Plaintiff could show that exposure to an asbestos-containing component attached

  to Westinghouse equipment aboard the New Jersey was a substantial factor in causing Mr.

  Denbow’s injury, which she cannot, the record is devoid of evidence that Westinghouse

  manufactured, supplied, or installed the insulation, or other component parts, to which Mr.

  Denbow was allegedly exposed.         To the contrary, the evidence tends to establish that

  Westinghouse delivered its equipment to the Navy “bare metal” and that the Navy or its

  shipbuilder then purchased the insulation from third-parties and attached it to the Westinghouse




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  equipment.2 Further, Mr. Ricker testified that he was unaware of the maintenance history of the

  turbines on the New Jersey and presumed based on the time between when the ship was first

  commissioned and when Mr. Denbow served on the ship, maintenance would have previously

  occurred and he could not identify the manufacturer or supplier of any replacement parts. See

  Discovery Deposition of Charles Ricker at 22-23; 29-31, 34, 43-44 (Ex. C). Such facts are fatal

  to Plaintiff’s claims against Westinghouse as a matter of maritime law.

             As a general rule of maritime law, a defendant charged with liability for a product-related

  injury “is only legally responsible for component parts which it either manufactured or

  distributed.” Sweeney v. Saberhagen Holdings, 2011 U.S. Dist. LEXIS 13563 (E.D. Pa. Jan. 13,

  2011) (citing Lindstrom, 424 F.3d at 494-95). See also Lindstrom, 424 F.3d at 495-97; Stark, 31

  Fed. Appx. at 381; Ferguson v. Lorillard Tobacco Co., 2011 U.S. Dist. LEXIS 121982 (E.D. Pa.

  Mar. 2, 2011); Regan v. Starcraft Marine LLC, 2010 U.S. Dist. LEXIS 25045 (W.D. La. Mar.

  17, 2010).3 Thus, “under maritime law, a manufacturer is not liable for harm caused by, and

  owes no duty to warn of the hazards inherent in, asbestos products that the manufacturer did not

  manufacture or distribute.” Conner v. Alfa Laval, Inc., 842 F. Supp. 2d 791, 801 (E.D. Pa.

  2012); Dalton v. 3M Co., 2013 U.S. Dist. LEXIS 130407 (D. Del. Sept. 12, 2013); Ferguson,

  2011 U.S. Dist. LEXIS 121982 at *3. See also Crews v. Air & Liquid Sys. Corp., 2014 U.S.

  Dist. LEXIS 20054 (N.D.N.Y. Feb. 18, 2014); Walkup, 2014 WL 2514353 at *4, n.7; Cabasug v.

  2
      See Horne Aff., June 29, 2015, ¶¶ 24-25 (Ex. D).
  3
    Such an approach is consistent with other aspects of maritime law narrowly defining a given manufacturer’s
  “product” as the item actually delivered by the manufacturer at the time of sale, regardless of the foreseeability that
  other products or components might later be added to or used therewith. Cf. Saratoga Fishing Co. v. J.M. Martinac
  & Co., 520 U.S. 875, 884 (1997) (for purposes of maritime law’s “economic loss doctrine,” fishing gear affixed
  post-sale to a boat manufactured by the defendant was not an aspect of the defendant’s own product and was,
  instead, “other property” even though the defendant had known at the time of sale that the gear would be used);
  Nicor Supply Ships Assocs. v. General Motors Corp., 876 F.2d 501, 505 (5th Cir. 1989).

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  Crane Co., 2013 U.S. Dist. LEXIS 180917 at *4 (D. Haw. Dec. 27, 2013); Cabasug v. Crane

  Co., 989 F. Supp. 2d 1027 (D. Haw. Nov. 26. 2013); Faddish v. Buffalo Pumps, 881 F.Supp 2d

  1361 (S.D. Fla. Aug. 2, 2012) (reaching the same conclusion under Florida law in a case falling

  within the court’s admiralty jurisdiction, but noting that the same result would be reached under

  maritime law); Crater v. 3M Co., 2012 U.S. Dist. LEXIS 93217 (E.D. Pa. July 2, 2012). Cf. 1

  Thomas J. Shoenbaum, Admiralty & Maritime Law § 5-7 (5th ed. 2011). In Conner, supra,

  MDL-875 (the federal multi-district litigation for asbestos-related claims) considered this issue

  in depth and, in a well-written and thorough opinion, explained why an equipment manufacturer

  is not responsible for injuries caused by third-party asbestos-containing components (such as

  insulation), regardless of the foreseeability that such products would be used in conjunction with

  the manufacturer’s own equipment.

         The Conner plaintiffs brought suit against multiple defendants, alleging that they had

  contracted mesothelioma due to Navy asbestos exposure. Conner, 842 F.Supp.2d at 794. The

  Conner defendants were manufacturers of turbines, pumps, boilers, and valves that used aboard

  the Navy ships on which the plaintiffs had served. Id. at 795. The plaintiffs could not prove that

  the defendants had manufactured, supplied, or installed the specific asbestos-containing

  components to which they were exposed, but they urged that the defendants were nonetheless

  liable for their injuries because of the foreseeable use of such products by the Navy with their

  equipment. Id.     The defendants sought summary judgment, urging that, regardless of

  foreseeability, they owed no duty to warn or protect against injuries caused by asbestos-

  containing products which they did not manufacture or supply. Id.at 796. In considering the




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  issue, the Conner court analyzed the Sixth Circuit’s holdings in Stark and Lindstrom as well as

  prior state court opinions considering the question before it.

         In Stark, the plaintiff, a merchant seaman, alleged asbestos exposure while working in

  boiler and engine rooms. He claimed, in part, that he was exposed to asbestos-containing

  products attached to certain items of equipment, urging that the equipment suppliers were thus

  liable for his injury. The Sixth Circuit disagreed, refusing to hold the defendant liable for

  injuries caused by asbestos products they neither manufactured nor distributed, and affirmed

  summary judgment. Conner, 842 F.Supp.2d at 797-98 (citing Stark, 21 Fed. Appx. at 381).

         In Lindstrom, the plaintiff filed suit against various manufacturers alleging that third-

  party asbestos components used in or on the defendants’ shipboard equipment caused his

  asbestos-related disease. The Lindstrom court affirmed the district court’s grant of summary

  judgment to several equipment suppliers based on its legal holding that, as a matter of maritime

  law, a manufacturer cannot be responsible for a third-party’s asbestos products. Conner, 842

  F.Supp.2d at 798 (citing Lindstrom, 424 F.3d at 495-97).

         As noted above, the Conner court also considered a number of state court decisions

  grounded in state tort law in addressing the question before it, finding Simonetta v. Viad Corp.,

  197 P.3d 127 (Wash. 2008) (en banc) and Braaten v. Saberhagen Holdings, 198 P.3d 493 (Wash.

  2008) (en banc) particularly persuasive.       In Simonetta, a former Navy machinist brought

  negligence and strict liability claims against defendant Viad, the successor corporation to the

  manufacturer of a Navy evaporator. The evaporator required the use of asbestos-containing parts

  to function. The asbestos to which the machinist was exposed, however, was not manufactured,

  provided, or installed by Viad. The court viewed the asbestos-containing components, not the


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  evaporators, to be the harm-causing product. Conner, 842 F.Supp.2d at 799 (citing Simonetta,

  197 P.3d at 138). The Simonetta court refused thus to hold Viad liable for its purported failure to

  warn because it was not within the chain of distribution of the injury-causing products (the

  specific asbestos components to which the plaintiff was exposed). Simonetta, 197 P.3d at 138.

         In Braaten, the Washington Supreme Court considered “whether under common law

  products liability … the manufacturers were required to warn of the danger of exposure to

  asbestos in packing and gaskets in their products if they originally included in their products

  asbestos-containing packing or gaskets manufactured by others.” Braaten, 198 P.3d at 501. The

  Braaten defendants provided pumps and valves to the Navy which the Navy then insulated with

  third-party asbestos-containing products. While none of the equipment manufacturers

  manufactured or supplied such insulation, some of their items of equipment had contained

  certain internal asbestos components (e.g., gaskets or packing) at the time of delivery years

  before the plaintiff’s work on that equipment. Because the plaintiff failed to show that he was

  exposed to any asbestos-containing component actually manufactured or supplied by the

  defendants, the court reinstated summary judgment for the defendants. Conner, 842 F.Supp.2d

  at 799 (citing Braaten, 198 P.3d at 504).

         After thoroughly analyzing such authorities and assessing the policy motivations

  underlying product liability law, the Conner court:

         adopt[ed] Lindstrom and now holds that, under maritime law, a manufacturer is
         not liable for harm caused by, and owes no duty to warn of the hazards inherent
         in, asbestos products that the manufacturer did not manufacture or distribute. This
         principle is consistent with the development of products-liability law based on
         strict liability and negligence, relevant state case law, the leading federal
         decisions, and important policy considerations regarding the issue. A plaintiff’s
         burden to prove a defendant’s product caused harm remains the same in cases


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         involving third-party asbestos manufacturers as it would in other products-
         liability cases based on strict liability and negligence.

  Conner, 842 F.Supp.2d at 801. After noting that plaintiffs had not pointed to any evidence

  creating a genuine issue of material fact as to whether the defendants manufactured or distributed

  the specific asbestos products to which plaintiffs were allegedly exposed, he granted the

  defendants’ motions for summary judgment. Id. at 803.

         The same result is called for here. First and foremost, Plaintiff has failed to produce any

  probative evidence tending to establish that Mr. Denbow was ever exposed to asbestos associated

  with any Westinghouse Navy equipment.         Moreover, to the extent he alleges exposure to

  asbestos insulation attached by the Navy to such equipment or other component parts

  manufactured by another company and installed by the Navy, Westinghouse is not liable for his

  injury as a matter of maritime law, entitling Westinghouse to a summary judgment.

  V.     CONCLUSION

         For the foregoing reasons, Westinghouse respectfully requests that its Motion for

  Summary Judgment be granted and that all claims and cross claims against it be dismissed with

  prejudice.

                                                      Respectfully submitted,
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